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Case 1-20-cr-00661-CM-1 Document 38 Filed in NYSD on 06/10/2022 Page 1 of 2

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LAW Todd A. Spodek, Es

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GROUP... Direct Dial: tah) sonia

aT AN ‘ ts@spodeklawgroup.com

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June 10, 2022

BY ECF:

Sept. 24, Zor ae THe
Hon. Colleen McMahon . throogh
Daniel Patrick Moynihan Time €xe ludeéd " { ot
United States Courthouse Set. 29, pro he ow bes€
500 Pearl Street - id Ci bade
New York, NY 10007 oF \ushee ro Gre

(leu Asseu $s tor
RE: United States v. Amir Bruno Elmaani

Case No.: 1:20-cr-00661-1 (CM)
First Request for Adjournment of Status onference

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Dear Judge McMahon: thle

Please be advised that Spodek Law Group P.C. represents Amir Bruno
Elmaani, the Defendant in the above-referenced matter.

We are currently scheduled to appear before Your Honor on June 15, 2022, at
2:00 PM for a decision on motions and a status conference. The defense has not filed
any motions in this matter.

 

On June 15, 2022, when this matter is scheduled, | am scheduled to appear in
United States v. Mandeep Singh, for sentencing, before the Honorable Geoffrey W.
Crawford in the District of Vermont, under Case No.: 5:20-cr-00098-1 (GWC).

 

| am also scheduled to begin jury selection in People v. Jose Santana, in Bronx
County Supreme Court before the Honorable Laurence E. Busching, under Ind. No.:
01784-2018 on July 18, 2022. The trial is expected to last at least two (2) weeks.

Further, the Government and | are discussing a possible pretrial resolution. |
respectfully request that this matter be adjourned to any date in August or September,
or anytime convenient to the Court. | consent to the exlusion of time until the next
court date.

Lastly, | conferenced my request with AUSA Margaret Graham and the
Government has no objection.

 

85 Broad Street, 17th Floor, NY, NY 10004 | T: (212) 300-5196 | F: (212) 300-6371 | info@spodeklawgroup.com

 
 

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Hon. Colleen McMahon, District Court Judge
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Thank you for your consideration.
Sincerely,

Spodek Law Group P.C.
IS/ Todd A. Spodek

TS/az
cc: All Counsel (By ECF).

 

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